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                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO


   UNITED STATES OF AMERICA,
                                              Case No. 1:20-cr-00102-BLW
           Plaintiff,
                                           UNOPPOSED SECOND MOTION
   vs.                                        TO EXTEND PRETRIAL
                                            DEADLINES AND CONTINUE
   JANETH GONZALEZ,                          PRETRIAL CONFERENCE
                                                   AND TRIAL
          Defendant.



         Defendant Janeth Gonzalez, through her attorney of record, Katherine Ball,

asks this Court to extend the pretrial motion deadlines and to continue the pretrial

conference and trial for another forty-five (45) days, pursuant to 18 U.S.C. § 3161.

See also Procedural Order (D. Idaho General Order No. 319); Fed. R. Crim. P. 12

& 45. Good cause to grant this motion exists for the reasons set forth in the

Declaration of Katherine Ball.      First, the parties are working on a proposed

agreement in this case and counsel needs additional time to meet with her client to

discuss the matter.      Second, communications are more difficult because the


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Defendant is detained at the Jerome County Jail and the services of an interpreter

are required for every communication, including to review discovery. Third, this

Motion is not opposed by the Government or counsel for the co-defendant, German

Lopez-Villasenor. Ball Declr. ¶ 3.

      This is the second motion to extend the deadlines. See Order (Dkt. 27). The

presently scheduled hearings and deadlines are:

      •       September 7, 2020: Pretrial motions due.

      •       September 24, 2020: Pretrial conference is scheduled at 4:00 p.m.

      •       October 5, 2020: Trial is scheduled to begin at 1:30 p.m.

(Dkt. 27).

      Ms. Gonzalez understands her rights under the Speedy Trial Act and

requests that the Court find a continuance constitutes excludable time under the

Act. Any delay should be excludable from the speedy trial deadline calculations

because refusal to grant a continuance under the circumstances described below

would “deny counsel for the defendant . . . the reasonable time necessary for

effective preparation . . . .” 18 U.S.C. § 3161(h)(7)(B)(iv). Counsel submits that

the interests of justice, in allowing time for counsel to effectively prepare,

outweigh Ms. Gonzalez’s and the public’s interest in a speedy trial under 18 U.S.C.

§ 3161(h)(7)(A).     Thus, Ms. Gonzalez requests that the Court find the time

between the present trial date and the new trial date is excludable time under the



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Speedy Trial Act. See 18 U.S.C. § 3161(h)(7)(A) & (B); D. Idaho General Order

No. 360 (“All time delay caused by the continuation of any such trial in a criminal

case is deemed excludable time under the Speedy Trial Act, 18 U.S.C. § 3161

(h)(7)(A) because the ends of justice served by ordering these continuances

outweighs the best interest of the public and each defendant’s right to speedy

trial.”).

        For all of these reasons, Ms. Gonzalez respectfully requests this Court grant

her motion and extend all deadlines and the pretrial and trial dates by at least forty-

five (45) days.

        DATED: September 9, 2020.

                                        By:   /s/
                                              Katherine Ball
                                              Counsel for Defendant




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                         CERTIFICATE OF SERVICE

      I certify that on September 9, 2020, I served a true and correct copy of the
foregoing document upon the following by the method of delivery designated:

Christopher Booker                           Via CM/ECF & Email
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                                       By:    /s/
                                              Katherine Ball




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